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13                              UNITED STATES DISTRICT COURT

14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

15 CALIFORNIA COALITION FOR WOMEN                             Case No. 4:23-cv-04155
     PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
16   A.S.; and L.T., individuals on behalf of themselves      DECLARATION OF B
     and all others similarly situated,                       L    S    IN SUPPORT OF
17                   Plaintiffs,                              PLAINTIFFS’ MOTIONS FOR
                                                              PRELIMINARY INJUNCTION
18           v.                                               AND PROVISIONAL CLASS
                                                              CERTIFICATION
     UNITED STATES OF AMERICA FEDERAL
19   BUREAU OF PRISONS, a governmental entity;
     BUREAU OF PRISONS DIRECTOR COLETTE
20   PETERS, in her official capacity; FCI DUBLIN
     WARDEN THAHESHA JUSINO, in her official
21   capacity; OFFICER BELLHOUSE, in his individual
     capacity; OFFICER GACAD, in his individual
22   capacity; OFFICER JONES, in his individual
     capacity; LIEUTENANT JONES, in her individual
23   capacity; OFFICER LEWIS, in his individual
     capacity; OFFICER NUNLEY, in his individual
24   capacity, OFFICER POOL, in his individual capacity,
     LIEUTENANT PUTNAM, in his individual capacity;
25   OFFICER SERRANO, in his individual capacity;
     OFFICER SHIRLEY, in his individual capacity;
26   OFFICER SMITH, in his individual capacity; and
     OFFICER VASQUEZ, in her individual capacity,
27
                     Defendants.
28
     [4340002.1]
      DECLARATION OF B        L     S    IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1
            I, B      L     S    , declare:
 2
            1.     I have personal knowledge of the facts set forth herein, and if called as a
 3
     witness, I could and would competently so testify. I make this declaration in support of
 4
     Plaintiffs' Motions for Preliminary Injunction and Provisional Class Certification.
 5
            2.     I have been incarcerated at FCI Dublin since July 2017. In the future BOP
 6
     may transfer me to other BOP facilities, including FMC Carswell, but at any point I could
 7
     be transferred back to FCI Dublin.
 8
            3.     I’ve experienced and witnessed mistreatment and abuse by staff at FCI
 9
     Dublin for years. In the past I was afraid to speak up, and I am still afraid of being
10
     retaliated against, but people on the outside need to know what’s happening in here and
11
     things need to change. FCI Dublin’s inadequate systems for preventing, detecting, and
12
     responding to sexual abuse have caused actual harm to myself and other people
13
     incarcerated at FCI Dublin and put myself and other incarcerated people at substantial risk
14
     of serious harm from sexual assault, harassment, and retaliation from staff.
15
            4.     During my time at FCI Dublin I’ve had many friends who shared with me
16
     that staff sexually assaulted or abused them. I cannot count how many people I know who
17
     have been sexually abused by a person who works at this prison.
18
            5.     Officer Smith worked in my unit and sexually harassed and abused countless
19
     women. One time around 2019 he came to my cell to see my roommate. He complimented
20
     her legs and then looked at me and then the door, indicating that I should leave. I was
21
     afraid, so I left. When I returned my roommate told me that Officer Smith touched her
22
     between her legs, and told her that he could do anything for her if she slept with him.
23
            6.     In 2021, another friend told me about how Officer Chavez sexually assaulted
24
     her in the kitchen refrigerator. That friend was later released and deported to Mexico. In
25
     the summer of 2022, another friend told me that Officer Glaser grabbed her and rubbed his
26
     crotch against her back. She reported Officer Glaser and was transferred to another facility.
27
            7.     Once when I was working in the kitchen Officer O’Connor asked me to get a
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                                                 1
     DECLARATION OF B          L     S    IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                          INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1 spoon for him from the closet, and once I was inside the closet he locked the door and
 2 wouldn’t let me out. He just stood outside the closet laughing at me. I have claustrophobia,
 3 and I was terrified. He eventually let me out, but I suffered anxiety and panic attacks for
 4 weeks after. I reported this incident to SIS Putnam, but was never provided any
 5 documentation of my report, and no one in SIS ever followed up with me about it.
 6         8.     FCI Dublin and BOP have not provided us with adequate training on how to
 7 report staff sexual abuse and assault. When I arrived at FCI Dublin in 2017 I was not given
 8 any formal training about PREA or how to report staff misconduct. Since many officers
 9 were walked off and arrested in 2021, the only changes we’ve seen are new signs with
10 phone numbers that you can call.
11         9.     There is no effective way to confidentially report sexual assault and abuse by
12 staff at FCI Dublin. We’ve been told that we can report sexual abuse to SIS or other FCI
13 Dublin staff, but I do not trust SIS or the people who work in this prison. I know many
14 people who have reported staff misconduct to SIS over the years, and nothing was done,
15 and the reports did not remain confidential. After I was called in for an interview with SIS
16 in the spring of 2022, women in my dorm started bullying me. One told me she heard that I
17 “snitched to Putnam.” I also don’t trust the medical staff because I know women who
18 were sexually abused by medical staff, and I don’t trust the chaplains because the former
19 chaplain also raped incarcerated women. We can’t use the regular phone lines or email or
20 mail, because staff monitor them all.
21         10.    It’s very difficult to get legal calls or visits, and staff deliver our legal mail
22 opened or photocopied. I recently asked for a legal call and my counselor told me: “You
23 trying to report me, huh?” When we do get legal visits, they are held in the large visitation
24 room with staff present, and without any privacy. During a legal visit on March 23, 2023,
25 staff told us that they were going to strip search us before and after we spoke with the
26 lawyers. I have never heard of staff strip searching anyone before or after legal visits
27 during my entire time at FCI Dublin. Staff began strip searching some women going into
28 the visit, but the lawyers asked to speak with a supervisor, and staff stopped the searches.
                                                2
     DECLARATION OF B         L     S    IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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 1 Staff did strip search all of us after the visit.
 2          11.    Staff at FCI Dublin prevent people from reporting sexual assault and abuse
 3 by staff and retaliate against people who do report. We have all seen staff retaliate against
 4 anyone who dares to report them, for years. I know that I may face retaliation just for
 5 submitting this declaration. I know multiple women who were put in the SHU for months
 6 after they reported sexual assault by staff. A close friend of mine reported staff sexual
 7 harassment, and Officers Ramos and Saucedo made her life a living hell by screaming at
 8 her, searching her cell, and humiliating her every chance they got. She came to my room
 9 crying multiple times because the constant retaliation was so unbearable.
10          12.    Retaliation has only gotten worse since the warden and other officers were
11 arrested in 2021. Staff treat us like we are the problem. They call us snitches and tell us
12 that it’s our fault that their coworkers got in trouble. A unit manager recently told me:
13 “You can report me all you want. I’ll be here until the day you get out, you’ll never get rid
14 of me.” A new staff person, Lt. Jones, has made it a point to degrade and humiliate us.
15 Around January 2023, I saw Jones force a group of women who work in the kitchen to
16 stand outside in the rain for over thirty minutes. Many of them didn’t have shoes on, and
17 she forced them to put their belongings and food on the ground. She yelled at them: “This
18 is my prison, you’ll do what I want.”
19          13.    My friend A , who was released from FCI Dublin and deported in
20 December 2022, was sexually abused by staff and witnessed sexual abuse by multiple
21 staff. She reported her experiences to SIS and federal investigators, and staff were terrible
22 to her for months. Two other people I know were sexually abused by staff in 2022 and
23 reported their abuse in early 2023. Since they reported, staff have harassed them nonstop. I
24 see staff yell at them and search their cells constantly. One officer told me that she knew
25 that those two individuals had reported to SIS, which seemed very inappropriate to me.
26          14.    There is not adequate mental health care for survivors of sexual abuse and
27 assault at FCI Dublin. The psychology unit at FCI Dublin is extremely under staffed and
28 it’s hard to get appointments. FCI Dublin recently started working with Tri-Valley to offer
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 1 counseling, but only a handful of women have gotten appointments, and they only get five,
 2 thirty-minute sessions, and the sessions are not with real clinicians.
 3         15.     There is little to no medical care available to survivors of sexual abuse and
 4 assault at FCI Dublin. It truly feels like no one is caring for us here - it’s only the
 5 incarcerated people who take care of each other. It takes weeks or months to get a medical
 6 appointment, if you get one at all. My friend who was sexually assaulted by Officer
 7 Chavez and experienced extreme medical neglect. She had an emergency surgery and was
 8 left alone in an isolation cell for two weeks without care. I’ve also experienced medical
 9 neglect many times. In September of 2022 the whole left side of my body went numb, and
10 I repeatedly asked to see medical and eventually had to be taken offsite to the emergency
11 room. The doctors at the hospital prescribed me an anti-seizure medication, but when I
12 returned to Dublin the medical staff refused to give me the medication, and I didn’t have
13 access to treatment for weeks. I’ve repeatedly asked for my medical records, and staff
14 refused to give me a copy for a year. I truly do not feel safe here.
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                              CERTIFICATE OF TRANSLATION

I, Susan Beaty, am competent to translate from Spanish to English. I certify that I read back the
foregoing statement to B       L      S     in the Spanish language, that the translation was true
and accurate to the best of my abilities, and that she understood it before signing.



August 15, 2023                                              _____________________________
